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                                                                      September 22, 2022
  VIA ECF:

  Honorable James B. Clark
  United States Magistrate Judge
  U.S. District Court – District of New Jersey
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07102

         RE:     Bayshine Jones v. ARS Account Resolution Services
                 Case Number: 2:22-cv-1534-WFM-JBC

  Dear Judge Clark:

         I write to request adjournment of the September 26, 2022 conference, pursuant to
  the order entered on September 13, 2022. The date falls on the holiday of Rosh Hashanah
  and counsel for Plaintiff cannot attend.

         Counsel is also unavailable on October 5, 10, 11, 17, and 18, but is otherwise
  available at the Court’s convenience. Counsel has contacted counsel for Defendant, who
  has consented to this small adjournment request. Thank you for your attention to this mater.

                                               /s/ Daniel Zemel
                                               Daniel Zemel


  cc: All counsel of record (via ECF)




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